                                                                        FILED 10SEP '1814:55 US[IC·ORE
                     ·~

                                                                                     RECEIVED
                                                                                       MOllY C. DWYER, CLERK
                                                                                       U.S: COURT OF APPEALS
GORDON MCMAIN
909 SW 12th Ave #110                                                                     SEP 0 ~ 2018
Portland, Or. 97205                                                                                                     I
                                                                             i!LED
                                                                             DOCKE=-:T:=:ED~-----              ---1
                                                                                                                        l
                                                                                              OATE              INITIAi I
                          IN THE UNITED STATES NINTH CIRCUIT                                                            I
                                      COURT OF APPEALS

                                                  )
GORDON MCMAIN,                                    )
                                                                                                                       I
              Plaintiff- Appellant,
                                                  )
                                                  )
                                                  )
                                                      Case No. 213-cv-01632-AA
                                                                                                                       'l
     v.                                           )
                                                  )    PLAINTIFFF'S MOTION
                                                                                                                       l
COLLETTE PETERS, DR. SHELTON,

DR. ELLIOT-BLAKESLEE, J. BELL
                                                  )

                                                  )
                                                       TO FILE NOTICE OF
                                                            APPEAL                                                     I
                                                  )                                                                    f
                                                  )
              Defendants- Appellees,              )
                                                                                                                       I
COMES NOW Gordon Mc Main before this court to request the right to appeal a previous

decision from Judge Ann Aiken in the United States District Cou




Dated this 8/31/18                                Gordon McMain

                                                  909 SW 12th Ave. #110

                                                  Portland Ore. 97205




llPagc
